8:02-cr-00176-LES-TDT   Doc # 105   Filed: 10/20/06   Page 1 of 1 - Page ID # 369



            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                8:02CR176
                              )
          v.                  )
                              )
RAYMOND JOHN OTERO, now known )                   ORDER
as RAYMOND MENDOZA,           )
                              )
               Defendant.     )
______________________________)


           This matter is before the Court after hearing on the

petition for warrant or summons for offender under supervision

(Filing No. 95).    Defendant has admitted the three allegations

contained in the petition.      Accordingly,

           IT IS ORDERED that sentencing on the violations

contained in the petition for warrant or summons for offender

under supervision is scheduled for:

                 Friday, January 12, 2007, at 9:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.

           DATED this 20th day of October, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
